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                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                           Case No. 05-20017-02-JWL


Miguel Romero,

                    Defendant.

                                 MEMORANDUM & ORDER

      This matter is before the court on Mr. Romero’s pro se motion for reduction of sentence

pursuant to 18 U.S.C. § 3582(c)(2) in which Mr. Romero asks the court to reduce his sentence

based on Amendment 782 to the United States Sentencing Guidelines which took effect on

November 1, 2014 and lowers the base offense levels in the Drug Quantity Table. On July 18,

2014, the United States Sentencing Commission voted to apply the amendment retroactively to

those offenders currently in prison, but with a requirement that the reduced sentences cannot

take effect until November 1, 2015.

      The Honorable J. Thomas Marten of the District of Kansas has appointed the Office of

the Federal Public Defender to represent any defendant previously determined to have been

entitled to appointment of counsel, or who is now indigent, to determine whether that defendant

may qualify for relief under Amendment 782. The record reflects that Mr. Romero is entitled to

have the Federal Public Defender represent him to determine in the first instance whether Mr.

Romero qualifies for relief under the amendment. In light of these circumstances, the court

believes that the most efficient way to resolve the issue raised by Mr. Romero is to forward Mr.
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Romero’s motion (along with a copy of this order) to the Office of the Federal Public Defender

for an initial determination of whether Mr. Romero is entitled to a reduction in his sentence in

light of the amendment. In the meantime, the court will deny Mr. Romero’s motion without

prejudice to refiling the motion on or after April 1, 2015 if the Office of the Public Defender

declines to seek relief for Mr. Romero under Amendment 782.



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Romero’s motion for

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 372) is denied without prejudice

to refiling on or after April 1, 2015.



       IT IS FURTHER ORDERED BY THE COURT THAT the Clerk of the Court shall

forward to the Office of the Federal Public Defender a copy of this order along with a copy of

Mr. Romero’s pro se motion for reduction of sentence.



       IT IS SO ORDERED.



       Dated this 8th day of January, 2015, at Kansas City, Kansas.



                                                s/ John W. Lungstrum
                                                John W. Lungstrum
                                                United States District Judge




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